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                                       United States Bankruptcy Court
                                        Northern District of Georgia
         Bobby Manalcus Wilbanks
 In re
         Kimberly Ann Wilbanks                                                Case No. 10-60990
                                                        Debtors               Chapter 7

                                       AMENDMENT COVER SHEET

Amendments to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
1. Schedules B to include claims from the Ethicon Pelvic Mesh
2. Schedule C to include the exemption for the proposed settlement;
3. Summary of Schedules
Respectfully submitted this 20th day of July, 2018.


                                             /s/ Karen Scott Greene
                                             Karen Scott Greene 632153
                                             Attorney for Debtor(s)
                                             Karen Scott Greene, P.C.
                                             PO Box 390322
                                             Snellville, GA 30039
                                             678-377-1082 Fax:678-530-1059
                                             Ecfmail,ksglaw@gmail.com
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B6B (Official Form 6B) (12/07)




  In re           Bobby Manalcus Wilbanks                                                                                      Case No 10-60990wlh
                  Kimberly Ann Wilbanks                                                                            ,
                                                                                             Debtors
                                                             SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an "x" in the appropriate
position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number, and the number of the
category. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H,""W,""J,"or"C"in the column labeled "Husband,
Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                               N                                                                        Husband,        Current Value of
                 Type of Property                              O                 Description and Location of Property                    Wife,     Debtor's Interest in Property,
                                                               N                                                                         Joint, or   without Deducting any
                                                               E                                                                       Community Secured Claim or Exemption

 1. Cash on hand                                               X

 2. Checking, savings or other financial                       X
    accounts, certificates of deposit, or
    shares in banks, savings and loan,
    thrift, building and loan, and
    homestead associations, or credit
    unions, brokerage houses, or
    cooperatives.

3.     Security deposits with public                           X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                            4 televisions, furniture: living room and 3                              J                               5,200.00
       including audio, video, and                                 bedrooms, kitchen, dining
       computer equipment.                                         Location: 943 Lake Stone Lea Drive, Oxford GA

5.     Books, pictures and other art                               500 cds, pictures and books                                              J                                  500.00
       objects, antiques, stamp, coin,                             Location: 943 Lake Stone Lea Drive, Oxford GA
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                            Clothing for the family                                                  J                               1,000.00

7.     Furs and jewelry.                                       X

8.     Firearms and sports, photographic,                      X
       and other hobby equipment.

9.     Interests in insurance policies.                        X
       Name insurance company of each                          X
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each
    issuer.
                                                                                                                                         Sub-Total >                      6,700.00
                                                                                                                             (Total of this page)

     2 continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re            Bobby Manalcus Wilbanks                                                                               Case No.       10-60990 wlh
                  Kimberly Ann Wilbanks                                                                     ,
                                                                                              Debtors
                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                     (Continuation Sheet)

                                                               N                                                                Husband,        Current Value of
 11.      DEMO                                                                                                                   Wife,     Debtor's Interest in Property,
                 Type of Property                              N                Description and Location of Property             Joint, or   without Deducting any
                                                               E                                                               Community Secured Claim or Exemption

       Interests in an education IRA as                        X
       defined in 26 U.S.C. § 530(b)(1) or
       under a qualified State tuition plan
       as defined in 26 U.S.C. § 529(b)(1).
       Give particulars. (File separately the
       record(s) of any such interest(s).
       11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or                        X
     other pension or profit sharing
     plans. Give particulars.

 13. Stock and interests in incorporated                       X
     and unincorporated businesses.
     Itemize.

14. Interests in partnerships or joint                         X
    ventures. Itemize.

15. Government and corporate bonds
    and other negotiable and                                   X
    nonnegotiable instruments.
                                                               X
16. Accounts receivable.

17. Alimony, maintenance, support, and
     property settlements to which the
     debtor is or may be entitled. Give      X
     particulars.
 18. Other liquidated debts owed to debtor                         2008 Tax Refund                                                 J                         11,618.00
     including tax refunds. Give particulars.


  19. Equitable or future interests, life                      X
      estates, and rights or powers
      exercisable for the benefit of the
      debtor other than those listed in
      Schedule A - Real Property.

20. Contingent and noncontingent                               X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated
    claims of every nature, including                       Claim for Ethicon Pelvic Mesh                                              J                 80,000
    tax refunds, counterclaims of the                       Claim for Ethicon Pelvic Mesh                                              J                 13,000
       debtor, and rights to setoff claims .
       Give estimated value of each.


                                                                                                                                   Sub-Total >            104,618.00
                                                                                                                       (Total of this page)
          1             2
Sheet        of        continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re            Bobby Manalcus Wilbanks                                                                                  Case No 10-60990
                  Kimberly Ann Wilbanks                                                                        ,
                                                                                              Debtors
                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                     (Continuation Sheet)

                                                               N                                                                  Husband,            Current Value of
 22.                                                            O                                                                  Wife,        Debtor's Interest in Property,
                 Type of Property                              N                   Description and Location of Property            Joint, or       without Deducting any
                                                               E                                                                 Community      Secured Claim or Exemption

       Patents, copyrights, and other                          X
       intellectual property. Give
       particulars.

 23. Licenses, franchises, and other                           X
     general intangibles. Give
     particulars.

 24. Customer lists or other compilations                      X
     containing personally identifiable
     information (as defined in 11 U.S.C.
     § 101(41A)) provided to the debtor
     by individuals in connection with
     obtaining a product or service from
     the debtor primarily for personal,
     family, or household purposes.

25. Automobiles, trucks, trailers, and                              2002 Sandpiper 38 foot pull-behind travel trailer                  J                        17,835.00
    other vehicles and accessories.                              X
                                                               X
26. Boats, motors, and accessories.
                                                               X
27. Aircraft and accessories.
                                                               X
28. Office equipment, furnishings, and
    supplies.
                                                               X
29. Machinery, fixtures, equipment, and
    supplies used in business.
                                                               X
30. Inventory.
                                                               X
31. Animals.
                                                               X
32. Crops - growing or harvested. Give
    particulars.
                                                               X
33. Farming equipment and                                      X
    implements.

34. Farm supplies, chemicals, and feed.
                                      X
35. Other personal property of any kind
    not already listed. Itemize.      X
                                                                                                                                      Sub-Total >                17,835.00
                                                                                                                          (Total of this page)
         2       2                                                                                                                          Total >            129,153.00
Sheet       of     continuation sheets attached
to the Schedule of Personal Property                                                                                                  (Report also on Summary of Schedules)

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 B6C (Official Form 6C) (12/07)




  In re            Bobby Manalcus Wilbanks                                                                           Case No.       10-60990
                   Kimberly Ann Wilbanks                                                                ,
                                                                                       Debtors
                                                  SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                     Value of                Current Value of
                     Description of Property                                                                             Claimed                  Property Without
                                                                                  Each Exemption                        Exemption              Deducting Exemption
Household Goods and Furnishings
4 televisions, furniture: living room and 3                               Ga. Code Ann. § 44-13-100(a)(4)                          5,200.00                    5,200.00
bedrooms, kitchen, dining
Location: 943 Lake Stone Lea Drive, Oxford GA

Books, Pictures and Other Art Objects; Collectibles
500 cds, pictures and books                                               Ga. Code Ann. § 44-13-100(a)(6)                           500.00                        500.00
Location: 943 Lake Stone Lea Drive, Oxford GA

Wearing Apparel
Clothing for the family                                                   Ga. Code Ann. § 44-13-100(a)(6)                          1,000.00                    1,000.00

Other Liquidated Debts Owing Debtor Including Tax Refund
2008 Tax Refund                                       Ga. Code Ann. § 44-13-100(a)(6)                                              7,475.00                   11,618.00
Personal injury settlement

Wife’s claim of pelvic mesh settlement                                    Ga. Code Ann. § 44-13-100(a)(6)                           10,000                        80.000
Husband’s claim of pelvic mesh settlement                                 Ga. Code Ann. § 44-13-100(a)(6)                           10,000                        13,000




                                                                                                            Total:         34,175.00                      111,318.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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B6 Summary (Official Form 6 - Summary) (12/07)




                                                                       United States Bankruptcy Court
                                                                             Northern District of Georgia
 In re            Bobby Manalcus Wilbanks                                                                              Case No.          10-60990
                  Kimberly Ann Wilbanks                                                                         ,
                                                                                             Debtors                   Chapter                          7


                                                                  SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B,
     D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add
     the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also
     complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




           NAME OF SCHEDULE                                   ATTACHED            NO. OF          ASSETS                   LIABILITIES                   OTHER
                                                               (YES/NO)           SHEETS

A - Real Property                                                      Yes          1                     500,000.00


B - Personal Property                                                  Yes          3                     129,153.00


C - Property Claimed as Exempt                                         Yes          1

                                                                       Yes          1                                              520,846.00
D - Creditors Holding Secured Claims

E - Creditors Holding Unsecured                                                                                                           0.00
                                                                       Yes          1
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                        Yes          4                                              632,734.52
    Nonpriority Claims

G - Executory Contracts and                                            Yes          1
    Unexpired Leases

H - Codebtors                                                          Yes          1


I - Current Income of Individual                                       Yes          1                                                                              6,214.00
    Debtor(s)

J - Current Expenditures of Individual                                 Yes          2                                                                              6,425.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          16

                                                                                                          629,153.00
                                                                              Total Assets
                                                                                                Total Liabilities                 1,153,580.52




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Form 6 - Statistical Summary (12/07)




                                                                       United States Bankruptcy Court
                                                                          Northern District of Georgia
 In re            Bobby Manalcus Wilbanks                                                                             Case No.          10-60990
                  Kimberly Ann Wilbanks                                                                     ,
                                                                                         Debtors                      Chapter                            7



               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing a case under
          chapter 7, 11 or 13, you must report all information requested below.

                          Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                          report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                     Amount

             Domestic Support Obligations (from Schedule E)                                                         0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)                                                                                      0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)                                                     0.00

             Student Loan Obligations (from Schedule F)                                                             0.00

             Domestic Support, Separation Agreement, and ivorce Decree
             Obligations Not Reported on Schedule E                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)                                                                                      0.00

                                                                                 TOTAL                              0.00


            State the following:

             Average Income (from Schedule I, Line 16)                                                          6,214.00

             Average Expenses (from Schedule J, Line 18)                                                        6,425.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                           6,535.78


            State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 Column




                                                                                                                                                   5,834.00
                 Column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                                                                                                                    0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                                     0.00
                                                                                                                                               632,734.52
             4. Total from Schedule F

               .
             5. Tot of non -pri rity unsecu d d bt (sum of 1, 3, and 4)                                                                       638,568.52




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                                                                         United States Bankruptcy Court
                                                                                  Northern District of Georgia
              Bobby Manalcus Wilbanks
  In re
              Kimberly Ann Wilbanks                                                                                            Case No.   10-60990
                                                                                                   Debtor(s)                   Chapter    7

                                                             AMENDED
                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing document(s), consisting of 6 page(s),
              and that they are true and correct to the best of my knowledge, information, and belief.




 Date July 19, 2018                                                                    Signature   /s/ Bobby Manalcus Wilbanks
                                                                                                   Bobby Manalcus Wilbanks

 Date       July 19, 2018                                                              Signature   /s/ Kimberly Ann Wilbanks
                                                                                                   Kimberly Ann Wilbanks
                                                                                                   Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§     152 and 3571.




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